      Case 1:17-cv-05361-VEC Document 229 Filed 10/20/20 Page 1 of 2
                                                   USDC SDNY
                                                   DOCUMENT
                                                   ELECTRONICALLY FILED
                                                   DOC #:
UNITED STATES DISTRICT COURT                       DATE FILED: 10/20/2020
SOUTHERN DISTRICT OF NEW YORK
ANDREW SNITZER and PAUL LIVANT, individually
and as representatives of a class of similarly situated
persons, on behalf of the American Federation of
Musicians and Employers’ Pension Plan,

                                                Plaintiffs,

            - against -

THE BOARD OF TRUSTEES OF THE AMERICAN
FEDERATION OF MUSICIANS AND EMPLOYERS’                                  17-CV-5361 (VEC)
PENSION FUND, THE INVESTMENT COMMITTEE
OF THE BOARD OF TRUSTEES OF THE                                               ORDER
AMERICAN FEDERATION OF MUSICIANS AND
EMPLOYERS’ PENSION FUND, RAYMOND M.
HAIR, JR., AUGUSTINO GAGLIARDI, GARY
MATTS, WILLIAM MORIARITY, BRIAN F. ROOD,
LAURA ROSS, VINCE TROMBETTA, PHILLIP E.
YAO, CHRISTOPHER J.G. BROCKMEYER,
MICHAEL DEMARTINI, ELLIOT H. GREENE,
ROBERT W. JOHNSON, ALAN H. RAPHAEL,
JEFFREY RUTHIZER, BILL THOMAS, JOANN
KESSLER, MARION PRESTON,

                                              Defendants.



VALERIE CAPRONI, United States District Judge:

       WHEREAS on October 19, 2020, Plaintiffs filed a motion for a bond pursuant to Rule 7

of the Federal Rules of Appellate Procedure, Dkt. 226;

       IT IS HEREBY ORDERED that Mr. Stoner must file his response in opposition to the

Motion by no later than Monday, November 2, 2020. Any party that wishes to reply in support

of the Motion must do so by no later than Monday, November 9, 2020.

       The Clerk of Court is respectfully directed to mail a copy of this order to Mr. Stoner and

note the mailing on the docket.
       Case 1:17-cv-05361-VEC Document 229 Filed 10/20/20 Page 2 of 2




SO ORDERED.
                                          _________________________________
Date: October 20, 2020                          VALERIE CAPRONI
      New York, New York                        United States District Judge




                                      2
